Case 2:10-md-02179-CJB-DPC Document 11988-26 Filed 12/16/13 Page 1 of 3




                    EXHIBIT 25
Case 2:10-md-02179-CJB-DPC Document 11988-26 Filed 12/16/13 Page 2 of 3




 To: Susan Desantis
 Subject: RE: casey Thonn

 ~usie,



 Hope all is well. Casey Thonn told me he got hts VOO monev l•st week.
 Ciln you chcrk on rny fee.


 Lionel H. Sutton, lll
 93 5 Gravier St., Stc. 1910
 New Orleans, L/\ 701 12
 Office 504 592 3230
 Cell 504 957 4689

                 - - -----
   ------·--· - 0700                                                                      --------
 Oat~: Tue, 26 Jun 2012 15:44:47
 from· tniketbryant2000@yahoo com
 Subject: NAC Commercial Proposa l Dr~ft 2
 To· glenlerneresq@aol com; lhs31aw@hotmail.com; sdesantis@glenlerner.com, jdartez @hotmail.com;
 montanaelmo@yJhoo.com

 Ocmlemen, followius·ou from our meeting today I have included scenarios 4 & S, they arc
 blended rates that wotk on pay per usage bilsis.
 Regards Mike

 Mike Bryant
 emuil mikctbryant2000@yahoo com


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  RE:

  r:rem: Su ttou Lion el ( Ihs31aw@hotmail.com)
  ~ent ·   Mon 1/07/13 10:08 AM



                                                                                                             SM-01-GL00337
     Case 2:10-md-02179-CJB-DPC Document 11988-26 Filed 12/16/13 Page 3 of 3


..


       To:      Glen Lerner (glenlcrneresq@aol.com)
       did u check on my fee from casey thonn susie sent it to jeff mid december.

       Lionel H. Sult on, III
       935 Gravier St., S te. 1910
       N ew Orleans, LA 70 I I 2
       Office 504 592 3230
       Cell 504 957 4689

                  - -- --- --
       From: glenlcrnercsq@aol.com
       Subject: Re
       Date : Fri. 4 Jan 2013 17:03:44 · 0500
       To: lhs31aw@hotmail com

       Ok. understood . Need Tm agreement doni' They'vt> been dragging ft>et on It since meeting months
       ago. I'm not too crazy about them.
       On J,u, ~. 2013, at 4:49 PM, Sutton Lionel wrote:


              Some things are worth arguing about and some are not. Because we arc friends.

              Lionel H. Sutton, III
              935 Gravier St., Sle. 1910
              New Orleans, LA 70 112
              Office 504 592 3230
              Cell 504 957 4689

                     ----·-
              From: glenlern!;~@.aol.com
              Subject: Re:
              Date: Frl, ~Jan 2013 lb:39:10 ·0500
              To: lhs31aw@ho!maJI.com

              Thx. If you have any rssues with anything I said yoJ should let me koow. We are still
              fnends you know.
              On Jan ~. 2013, at ~ :02 PM, Sutlon Lionel wrole:


                      I don't necessarily agree with all said, but I understand your position. i will
                     WO<k with mike to get It resolved.


                     Lionel H. Sutton, ru
                     935 Gmvier SL. , Ste. 1910




                                                                                                          SM-01-GL00338
